UNITED STATES OF AMERICA

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5. ARTURO ESCAMILLA,

. GEORGE LEWIS ESCAMILLA, Sr.
. OMERO ESCAMILLA

. MICHAEL ANGELO ESCAMILLA

. GEORGE LEWIS ESCAMILLA, Jr.,

 

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UNITED STATES DISTRICT COURT Lire, Pog 6
FOR THE WESTERN DISTRICT OF TEXAS 2008
AUSTIN DIVISION N Bie IST,

 

CASE: NO 1:08-CR-337 LY

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aka *Tuto”

MOTION FOR DETENTION

COMES NOW the United States by and through its United States

Attorney and files this motion for pretrial detention under Title

18,

United States Code, Section 3141, et seg., and would show the

Court the following:

[ ]

[X]

[X]

1. The pending case involves:
(A) A crime of violence

(B) An offense for which the maximum sentence is life
imprisonment or death.

(C) An offense for which a maximum term of imprisonment of
ten years or more is prescribed in the Controlled Substances
Act, the Controlled Substances Import and Export Act or

- the Maritime Drug Law Enforcement Act.

(D) A felony committed after Defendant had been convicted of
two or more prior offenses described in Title 18, United
States Code, Section 3142(f) (1) (A)-(C) or comparable state or
local offense.

(E) A serious risk that the Defendant will flee.
(F) A serious risk that the persons will obstruct, or

attempt to obstruct justice, or attempt to threaten, injure
or intimidate a prospective witness or juror.
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[] (G) An offense committed by Defendant while released pending
trial or sentence, or while on probation or parole requiring
an initial 10 day detention pursuant to 18 U.S.C. Section
3142 (d).

[] (H) An offense committed by the above named defendants who
are not citizens of the United States or lawfully admitted for
permanent residence requiring initial 10 day detention under
the provisions of 18 U.S.C. Section 3142(d).

2. No condition or combination of conditions will:

[X] (A) Reasonably assure the appearance of the person as
required.
[xX] (B) Reasonably assure the safety of the community or any

other person.

the United States may advocate additional reasons for
detention other than those indicated above as the investigation
proceeds and new information becomes available.

Pursuant to 18 U.S.C. Section 3142(f) the United States moves
that the detention hearing be continued for THREE (3) days so that
the United States can prepare for said hearing.

WHEREFORE, PREMISES CONSIDERED, the Government requests that

the. Defendant be held without bond.

Respectfully Submitted,

Johnny Sutton
UNITED STATES ATTORNEY

  

By: ;
Mark H. Marshall
Assistant U.S. Attorney
State Bar No. 13032500
